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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

MARSH & MCLENNAN AGENCY LLC,
Plaintiff,

-against- No. 19-cv-03837 (VSB)

ELMER “RICK” FERGUSON,

Defendant.

 

 

 

SUPPLEMENTAL POST-EVIDENTIARY HEARING SUBMISSION IN SUPPORT OF
DEFENDANT’S MOTION TO DISMISS OR IN THE ALTERNATIVE MOTION TO
COMPEL ARBITRATION,

AND IN SUPPORT OF APPLYING CALIFORNIA LAW

 

 
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ATTACHMENTS:

Exhibit 1 — FINRA Closure Letter November 5, 2019

Exhibit 2 — Original MMA NS&CA Not Signed

Exhibit 3 — Defendant-MMA Agreement Signed January 14, 2014

Exhibit 4 — Defendant-MMA Agreement Change Supplement November 2018
Exhibit 5 — Littler Opinion CA Section 925

Exhibit 6 — Supplemental Declaration of Elmer Ferguson

REFERENCES:

Reference 1 — Fraud on the Court and Abusive Discovery

Reference 2 — CAFSA Article How to Respond to False Evidence
Reference 3 — Adversary Ethics More Dirty Tricks

Reference 4 — 7" Circuit Affirms Dismissal as Sanction for Bad Evidence
Reference 5 — Law360 Morse v Fusto

Reference 6 — Federal Rule of Civil Procedure Spoiling the Spoilage
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Defendant Elmer “Rick” Ferguson (“Defendant” or “Mr. Ferguson”’) submits this
Supplemental Post Evidentiary Hearing Brief in further support of Defendant’s Motion to
Dismiss or in the Alternative Motion to Compel Arbitration, and in Support of Applying
California Law. These arguments are in addition to and in support of arguments and references
already submitted by my previous counsel.

Defendant respectfully extends the Court and Opposing Counsel apologies in advance for
any formatting, procedural, or other errors Defendant makes as a Pro Se Defendant. In Powell v.
Alabama, 287 U.S. 45 (1932), the Supreme Court wrote,

“Even the intelligent and educated layman has small and sometimes no skill in

the science of law... . He lacks both the skill and knowledge adequately to prepare

his defense, even though he have a perfect one. He requires the guiding hand of counsel at

every step in the proceeding against him. Without it, though he be not guilty, he faces the

danger of conviction because he does not know how to establish his innocence.”
As the Court and Opposing Counsel know, the Defendant has no alternative available at this time.
As such, Defendant relies heavily on prior Counsel’s case references and evidence and testimony
from the evidentiary hearings.

The Court should note that FINRA has closed its investigation of Defendant November 5,
2019 having found no reason for action. (Attached here as Exhibit 1.)

The Court should also note that Defendant has filed complaints with FINRA against
MMaAS and MMA. Having no jurisdiction over MMA, FINRA has contacted MMA asking if it
agrees to voluntarily be party to those complaints with MMAS regarding these same clients and
information. As of the date of this writing, to Defendant’s knowledge MMA has not agreed to be

a party with MMAS to the complaints submitted to FINRA regarding these same clients and
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information; in effect disavowing the same ownership and injury that it is claiming in Federal
Court.

ARGUMENT
I. Motion to Dismiss Under Code of Civil Procedures Rule 37(c)(1) Failure to Make

Disclosures or Cooperate in Discovery, and/or 60(b)(3) Fraud, Misrepresentation, or
Misconduct by an Opposing Party.

Plaintiff and Counsel have engaged in ‘Rambo-lawyering’ (Def Reference 1.) and other
misconduct. Plaintiff and Counsel knowingly submitted a false document to the Court as basis
for all its complaints; knowingly sent required initial notifications of these claims to Defendant at
an incorrect address; denied Defendants request of material witnesses; allowed only one witness
who claimed ignorance of material issues so many times as to reasonably suggest intentional
falsification by omission. Defendant requests a Motion to Dismiss under Rules 37(c)(1) and
60(b)(3).

A. During evidentiary hearings October 2, 2019, Plaintiff's Counsel was forced to admit

Plaintiff knowingly submitted and misrepresented a false document to the court and
Defendant as evidence and basis for Plaintiff's claims in efforts to sway the Court’s
judgement and influence Defendants testimony in Deposition and Hearings. Namely,
Plaintiff's Exhibit A to their original complaint filed April 30, 2019, titled “Barney &
Barney/MMA Non-Solicitation and Confidentiality Agreement” (NS&CA). During
the evidentiary hearing Defendant stated this document was not original. (Transcript
page 281) The Court even asked the witness, Jeff Calder, 10 questions regarding the
authenticity of this alleged NS&CA document, to each of which Mr. Calder replied
with a variation of ‘I don’t know.’ (Transcript pages 28-31) During this time neither

Mr. Calder or Mr. Wickham offered disclosures, clarifications, or any indications that
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the document was not an original copy as claimed by MMA. Only when the Court
specifically and directly questioned Mr. Wickham about the authenticity of this
document did Mr. Wickham reluctantly admit the document is a fake put together by
MMaA and Counsel, and that MMA does not have a true and complete copy of an
MMA NS&CA signed by Defendant. Plaintiff knowingly created this false document
and misrepresented it as original evidence to the Court and opposing party without
required disclosures regarding authenticity in advance.

ABA Model Rule of Professional Conduct 3.3 prohibits attorneys from offering
evidence that the attorney knows to be false, and requires attorneys to take reasonable
remedial measures, including disclosure to the Court, in advance, where the attorney
knows that a client has engaged in fraudulent conduct. Additionally, ABA Model Rule
of Professional Conduct 8.4, prohibits attorneys from engaging in conduct involving
dishonesty, fraud, deceit, or misrepresentation. In Morse v. Fusto, No. 13-4074 (2d
Cir. 2015) the Second Circuit took a critical further step: The court held that material
omissions can, if knowingly made, constitute the falsification of evidence, even if the
evidence otherwise is “facially” accurate. (Def Reference 5)

Defendant stated in self-testimony and subsequent questioning on October 3,
2019, that he did not sign the MMA NS&CA as provided by MMA. When questioned
by the Court Defendant stated: (Transcript pages 281-293) He had seen a version of
the NS&CA document previously, but it was not the document presented by Plaintiff;
He remembered objecting to the document when originally asked to sign; He
remembered striking out portions of the original NS&CA document; He remembered

arguing many times with MMA about this and other contractual documents; He
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signed B&B/MMA agreements without signing NS&CA’s; He remembered signing
the B&B/MMA agreement but not the NS&CA; His signature appeared on the last
page of the alleged NS&CA document provided by MMA.

When asked about this NS&CA Defendant showed extreme confusion, and even
under pressure still did not conclusively state that he ever signed a MMA NS&CA. At
best Defendant was, and still is, confused that his signature appears on documents he
doesn’t remember as accurate and doesn’t remember signing. When repeatedly pressured
and coerced by Plaintiffs Counsel, Defendant clarified that his statements regarding the
false document were dependent on Plaintiff's implied authenticity.

(Transcript page 322, line 4-5)
“.. if we take your statement and promise that this is the original version, then, yes....”

Further, Defendant had a history of not signing controversial documents and
agreements in question. Defendant signed a contract with MMA dated December 23,
2014, refusing to sign the attached and required MMA NS&CA, and MMA accepted that
contract. (Defendant’s Evidentiary Hearing (EH) Exhibit 18) Defendant signed a contract
with B&B/MMA dated February 11, 2014, refusing to sign the attached and required
MMA NS&CA, and MMA accepted that contract. (Def EH Exhibit 4) Defendant refused
to sign MMA Warning letter even though MMA stated Defendant would be fired if he
didn’t sign it; Defendant kept working for MMA. (Def EH Exhibit 30) Defendant refused
to sign agreement dated August 13, 2013 without revisions, and it is still unclear if
Defendant ever signed any version of this agreement without revisions, yet Defendant

kept working for MMA. (Def EH Exhibit 52)
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It is clear from the testimony and evidence that Defendant ever having signed any

MMA NS&CA is in serious doubt. In response to the Court’s request for true, original,

and complete copies of the alleged MMA NS&CA, Defendant submits Exhibit 2, a copy

of the MMA NS&CA from Defendant’s records that was given to Defendant in 2014

which Defendant obviously did not sign as it is blank. (Attached here as Exhibit 2.)

B. Mr. Wickham stated to the Court at the evidentiary hearing October 2, 2019 that
Plaintiff only replaced page 5 of the NS&CA. But the Court itself has already
recognized during the evidentiary hearing that both page 5 and page 7 of the
document clearly do not match the rest of the document, directly contradicting Mr.
Wickham’s statement and putting the authenticity of this document and Plaintiffs
intentions even further in question.

C. Mara Crain declared pursuant to 28 U.S.C §1746 and under penalty of perjury in her
declaration dated April 29, 2019 and filed with Plaintiff's original complaint, that the
MMA NS&CA document submitted to the court as “Exhibit A” was, “...a copy of the
MMA agreement...””. (Dcl of Mara Crain April 29, 2019) An allusion based in
trickery designed to influence the Court and Defendant into believing that the false
document was actually a true and complete copy of an original document allegedly
signed by Defendant, without technically stating as such. Mrs. Crain obviously made
this declaration with full knowledge that the alleged MMA NS&CA submitted by
Plaintiff was misrepresented, clearly showing efforts by Mrs. Crain of intentional
misrepresentation to influence the Court’s judgement and Defendant’s statements.

D. Plaintiff listed Defendants address in initial complaint filing to the Court on April 30,

2019, as “711 Mills Ave, San Bruno CA” even though the Plaintiff had already been
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in written communications with Defendant using Defendants correct address as early
as February 19, 2019. (Del. Douglas Wickham April 29) It is not plausible that
Plaintiff or Counsel suddenly ‘forgot’ Defendant’s correct address thus showing an
intentional delay in Defendant being made aware of these claims and being able to
respond and to seek appropriate and affordable legal representation in a timely
manner.

E. Defendant requested William Peartree and Mara Crain as material witnesses to these
proceedings, but the Plaintiff refused. The Court has since requested statements and
information from both persons as it became clear during evidentiary hearings that
both are material witnesses to these complaints. Plaintiff cannot plausibly deny that it
knew these witnesses were material to these proceedings. Refusal to allow material
witness is reason alone for suspicion of Failure to Disclose, but when combined with
that fact the only witness allowed had such a significant lack of knowledge of
selected matters at hand shows a plausible intention to obstruct the Court’s
proceedings and should not be ignored by the Court as Failure to Disclose under
Federal Rules of Civic Procedure Rule 37(c)(1).

F. Jeff Calder stated in his Declaration, and many times as witness at evidentiary
hearings, that he was Defendant’s direct supervisor at MMA. (Testimony page 109, et
al) Yet during questioning Mr. Calder answered over 74 times with “I don’t know”,
or similar deflective and non-disclosure answers whereby he disavowed knowledge of
even the most basic aspects of Defendant’s job duties, work arrangements, and
clients; things any supervisor would commonly know. Given the number of times and

subject matter of which Mr. Calder claimed ignorance, it is plausible he was choosing
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to not cooperate with Discovery Rules at best, and possibly intentional falsification
by omission at worst.

As an example, when asked about the relationship between MMAS and MMA
which is a critical point in these claims, Jeff Calder, the only witness allowed by
Plaintiff, Managing Director of MMA with direct responsibility for an entire region
of the United States, allegedly Defendant’s direct supervisor overseeing Defendant’s
MMAS clients and related income for 7 years, stated unconvincingly: “So my depth
of understanding of the relationship between MMA Securities and MMA is not very
broad. I don't fully understand the relationship.” (Transcript page 123)

These actions show a preponderance of the evidence that MMA and its counsel
knowingly and intentionally misrepresented false evidence to the Court and to opposing party,
knowingly made false statements in efforts to influence the Court’s judgement and opposing
parties statements, and have engaged in misconduct by an opposing party. While outside the
Second Circuit, it is reasonable to review that in Ramirez v. T&H Lemont, Inc., 845 F.3d 772
(7th Cir. 2016) the Seventh Circuit addressed the proper standard that district courts must apply
in issuing a dismissal sanction for misconduct. Prior Seventh Circuit precedent required that the
willfulness, bad faith, or fault of the accused party be supported by clear and convincing
evidence to warrant a dismissal of the case. Ramirez, however, holds that in civil cases, a district
court's decision to sanction misconduct by dismissing the action need only be established by a
preponderance of the evidence. This burden, the court noted, is consistent with the Supreme
Court's presumption in favor of the less onerous preponderance-of-evidence standard in federal

civil cases.
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For these intentional violations of Code of Civil Procedures Rules 37(c)(1) and 60(b)(3),
Defendant requests dismissal of all claims with prejudice.

IL. Objection to Additional Documents or Statements Provided by MMA on the Grounds
of Authenticity.

Code of Civil Procedures Rule 37(c)(1) states that if a party fails to provide information or
identify a witness as required by Rule 26(a) or (e), the party is not allowed to use that
information or witness to supply evidence on a motion, at a hearing, or at a trial, unless the
failure was substantially justified or is harmless. Accordingly, Defendant objects to any
additional NS&CA agreements or related documents that Plaintiff may produce, and objects to
additional statements by Mara Crain and statements by William Peartree in support of Plaintiff s
complaints and motions.

A. Plaintiff and Counsel intentionally misrepresenting the alleged MMA NS&CA document,
and not providing proper disclosure until they were forced to, is not justified, is material,
and is not harmless, thus Plaintiff should not be allowed to use this document, or any
versions that magically appear after the fact, or any statements regarding it, in support of
their claims and requests.

B. Mr. Calder testified during evidentiary hearings that MMA has a copy of Defendant’s
signature on file for their use. (Transcript page 257-258) Defendant did not authorize
MMA or any of its representatives to create, copy, use or retain his signature. (Exhibit 6 -
Def Addl Del Dec 17, 2019)

C. Defendants EH Exhibit 13, is an email exchange between Defendant and an
MMA/MMAS representative, December 20, 2018, asking about forging Defendant's

signature without Defendant’s knowledge or approval. This shows MMA has not

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hesitated to copy and use Defendant’s signature without approval and even against
Defendant’s instructions.

These actions and evidence show that MMA can, has, and thus likely will, use copies of
Defendant’s signature and produce false documents and statements to support their claims,
putting into serious doubt any further documents or statements provided by Plaintiff. Plaintiff
had over 7 months, 4 attorneys, substantial if not abusive discovery, an entire Human Resources
Department, and hundreds of associates to help find any factual documents and statements
related to this case, and yet could not produce a true, complete copy of the alleged MMA
NS&CA signed by Defendant; the core basis for all Plaintiff's complaints and requests. Thus, it
is not likely that any further documents produced relative to this will be authentic.

On the grounds of authenticity and Rule 37(c)(1) Defendant objects to the alleged MMA
NS&CA which Plaintiff submitted as evidence and to any further related documents, and objects
to statements by William Peartree and further statements by Mara Crain in support of Plaintiff's
claims.

Ill. MMA Does Not Have Standing to Bring this Suit on Behalf of MMA Securities LLC

In additional support of the arguments and references already presented by Defendant’s
prior Counsel. Witness testimony further proved that MMA has no corporate retirement plan
clients or confidential information or trade secrets regarding the same, and therefore does not have
standing to bring these claims. Plaintiff argues it can bring these claims because (1) it is
Defendant’s employer, and (2) pursuant to the restrictive covenant agreement. The latter has
already been debunked as a false document and regardless wouldn’t apply to clients of a distinctly
separate securities entity primarily bound by FINRA and SEC rules and regulations that require

legal separation of the entities, clients, and information. Both arguments also still fail as a matter

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of law as, in either case, MMA still does not allege any identifiable injury in relation to the claims
in this matter. Any purported injuries can only be borne by MMAS because all clients and
information relative to these claims are clients of MMAS by reason of signed agreements with
MMAS specifically.

A. MMA has no injury and therefore does not have standing to bring the claims
against Mr. Ferguson on behalf of MMA Securities.

In addition to arguments and references already provided by Defendant’s previous Counsel. It
has been further demonstrated that the clients, information, and work performed by Defendant
were all exclusively under MMAS. MMA has not submitted any evidence to the contrary.
Plaintiffs witness confirmed Defendant’s position multiple times in his statements.

1. When Jeff Calder was asked about what clients and business Defendant worked with:
(Transcript page 170)

“OQ. Jeff, that's not what I asked. Did I do any line of business, work on anything that wasn't under
MMA Securities?
A. No, I don't think you did, no.”

2. When Jeff Calder was asked to clarify what clients and business Defendant worked with:

(Transcript page 171)
“OQ. So 100 percent of the clients that we're talking about today are first under MMA Securities.
They may have some other line of business, some other relationship with MMA, correct?
A. Yes.”
3. When Jeff Calder was asked about the ownership of clients under question:
(Transcript page 161)
“QO. Okay.... When MMAS reported to FINRA that I was under investigation....were they talking

about MMAS clients or were they talking about MMA clients?
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A. From my point of view, they are talking about our clients, MMA. From their point of view, they
are talking about the broker-dealer clients.”

The witness’s statements support that these are clients of MMAS because the only work
Defendant ever performed was under MMAS. MMAS also inherently supports Defendant’s
position by their filing with FINRA regarding the same clients and information.

4. When pressed on this issue Jeff Calder changed his story to his common theme of denying
knowledge of something he has already stated being familiar with but did not deny that
these clients and information belong to MMAS.

(Transcript page 131/132)

“O. So we’re at least in agreement, correct, that all the clients I worked with and the only services
I provided under the retirement plan line of business were through MMAS, because of these
agreements, they were all securities clients?

A. I don't know the full knowledge of that; I hadn't had a chance to do that. But I would assume,
Rick, that you're right.”

5. When asked with which entity the clients in question for these proceedings had actual legal
contracts, Jeff Calder, Managing Director of MMA, and purportedly Defendant’s direct
supervisor, refused to admit any knowledge.

(Transcript page 124-125)

“Q. Jeff, during the time you've known me, did I do anything except retirement plans?
A. No.

Q. So all my clients, 100 percent investment securities clients?

A. I think so.

Q. And because of that, none of them had direct contracts with MMA for my services?

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A. I don't know that.

Q. So it's still your understanding that MMA might have direct contracts for securities clients?

A. I don’t know.”

Mr. Calder’s denial of having material knowledge strains credibility given his alleged
position and duties in regard to Defendant and the clients in question. Instead, Mr. Calder’s
statements and lack of knowledge could only be plausible if the clients under question were clients
only of MMAS for the purposes of these claims, and neither MMA or Jeff Calder had any
ownership or interaction.

a. Jeff Calder stated he has never seen a client agreement for any of the clients in
question. (Transcript page 122)
“THE COURT: Although you're not aware of every client, have you ever seen a
retirement services client contract between a client and MMA?
The Witness: No I have not. Those are handled through our compliance department
in San Diego.”
If Jeff Calder was actually the Supervisor in charge of Defendant and Defendant’s
clients for 7 years, it’s just not plausible that he would not have reviewed or seen
at least one contract at some time.

b. Jeff Calder even made statements contradicting his earlier declarations and
statements about being Defendant’s supervisor for these clients and information in
question when he admitted the supervisor for these clients in question was actually
Kevin Bowler (Transcript page 109-110), with whom Jeff Calder never had any

interaction. (Transcript page 130)

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“O. So, Jeff, on that last page, and after the agreement on the required disclosures

that are required to accompany that, under "Supervision," who does it state my

supervisor is?

A. Kevin Bowler.

Q. Why would MMA Securities say I have a different supervisor than what you

testified to?

A. This says that the supervisory principal for Elmer Richard Ferguson is Kevin

Bowler. And that would be as it relates to your FINRA activities under MMAS.
Q. So there's separation?
A. Yes.”

(Transcript page 130)

“THE COURT: Okay. Did you ever interface with Mr. Bowler concerning Mr.

Ferguson's employment?

THE WITNESS: I did not.”

c. Jeff Calder stated that no member of MMA did any meetings or provided any

service for the MMAS clients in question. When pressed on this, Mr. Calder

reverted to his regular position of suddenly lacking any knowledge of things

someone in his alleged position would commonly know. (Transcript pages 129-

130)

Q. Was any other member of MMA allowed to go out and do any retirement services

meetings?
A. I don't know --

THE COURT: Other than someone who's registered, is that the question?

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MR. FERGUSON: Sure. Correct.
Q. Other than myself, because I was the only registered person there.

A. No.

Q. So nonregistered persons, as a matter of securities rules, cannot go out and talk

about retirement services; they can't sell it, they can't service it. It's investment-

related, right, so they can't talk about it?

A. I don't know.

d. When asked about the compensation from MMAS clients Mr. Calder was able to

give an in-depth description of how MMA handles income and expenses for MMA

clients, but when asked about these clients in question, reverted again to his sudden

lack of knowledge, again straining his credibility beyond the breaking point unless

he and MMA had no interaction with these securities clients because these clients

are in fact owned solely by MMAS and MMA had no ownership or interaction.

(Transcript page 156-157)

“4. So chargebacks are charged back to a book if there are excessive expenses. But

the chargeback, although taken from the book for a producer, a producer's revenue

is only reduced 20 percent; MMA pays 80 percent of that cost. You are not subject

to the chargeback; you are a client service executive. In 2018, and the first two

months of 2019, we spent $21,000 on your travel and expenses.
Q. And MMA would know which clients those were?

A. Yeah, they would on, some level, sure. It's reported.

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Q. So we come full circle. MMA is keeping track of how much money they make on
a client and how much they spend on it; and that money that they made on the client
came from MMAS, my activities or some other producer's activities under MMAS.

A. The money we make comes from our clients.

Q. Which, as we've stated, we figured out earlier the clients -- all that money for
securities, that the only business I did, that goes to MMAS first?

A. Lam not sure of the financial flow.”

e. When asked about the services offered by MMAS versus MMA Mr. Calder even
admitted he had no insight into MMAS, clearly showing that these clients are not
clients of MMA and MMA had no ownership of the clients or the information.
(Transcript page 159)

Q. Does MMAS take the standpoint that all of the retirement services are under
them?
A. I don't have insight into MMAS, Rick.”

6. When presented with evidence (Def EH Exhibit 5) and asked if Defendant even had access
to any MMA client information, Jeff Calder admitted that Defendant did not, directly
contradicting his earlier testimony (Transcript page 40, line 8-9). Thus, by MMA’s own
witness admission there was no feasible way for Defendant to access or download any list
of MMA clients or information. (Transcript page 149)

“Q. Did I have access to the MMA systems? “
A. No.”
7. When pressed again on the issue of which entity these clients and information belong to

for purposes of these complaints, Jeff Calder admitted MMAS filed disclosures with

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FINRA via a Form US regarding the same clients and information, which proves yet again
that the clients and information in question belong to MMAS, not MMA. When faced with
these facts Jeff Calder reverted to his standard sudden ignorance of the situation.
(Transcript pages 154-155)
“OQ. Isn't it true FINRA is investigating me because MMA Securities told them, These clients and
this information is ours, and he took it?
A. I don't know that that is the only reason they are investigating you. I know we have a dual action
pending.
QO. Well, let's read that again: Intentional removal of company property, including deletion of
company data, also solicitation of institutional clients and prospective clients while licensed with
MMA Securities on behalf of unaffiliated third party before and after termination. But you don't
think that sounds like exactly what we're doing here today?
A. It is what we are doing today.
QO. So, Jeff, are these clients of MMA or are they clients of MMA Securities? Because there seems
to be a fight going on between MMA and MMA Securities.
A. I can't answer that question.”

8. Jeff Calder stated several times that he was not aware of specific clients or activities of
Defendant’s and never discussed specific clients or activities with Defendant even though
he has stated he was Defendant’s direct supervisor overseeing all Defendant’s client work
for 7 years. Mr. Calder tried to smooth over this obviously awkward position by stating he
would only look at individual clients and discuss them if the producer’s spending on the
client exceeded the company’s spending threshold of 2% of client income. But Mr. Calder

also testified that Defendant’s spending on clients (i.e. as a producer) was over 2 times that

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spending threshold. This shows that a) Defendant was a producer contrary to Mr. Calder’s
statements, in charge of spending on Defendant’s clients totally separate from MMA; b)
Mr. Calder was not aware of Defendant’s clients or spending because Defendant’s clients
were not clients of MMA. If these were truly clients of MMA, under the supervision of Mr.
Calder, and Defendant was spending well over twice MMA’s allowable limit, Mr. Calder
surely would have discussed them with Defendant.

(Transcript page 135)

“4. I don't know every client we have in the office, Rick.

QO. When we met, did we go over -- from reviews and things like that, did we go over my book of

business?

A, No.”

(Transcript page 136)

“OQ. Okay. When we met, did we talk about those clients?

THE COURT. And again, these are meetings, the annual --

Q. The annual review meetings.

A. Not in detail, no.

Q. Did we mention them?

A. No, we didn't mention clients specific in those meetings. Those meetings that we did were based
for budgeting purposes. I looked at the workbook in total for all of our producers.”

(Transcript page 156)
Q. Is it normal process at MMA for you to analyze how much was spent on all those things you

just mentioned, marketing, things like that, and then attribute it to that client and balance it out

and say, How much did we spend on that client; how much did that client bring in?

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A. I don't usually view it in that micro environment, but I will have that discussion if it's out of

line.”

(Transcript Page 172)

THE WITNESS: Yeah. So assuming the book of business was -- let's say it's $500,000, and I'm not

saying it was or it wasn't, but let's say it was. We would budget approximately two percent of that

revenue towards expenses. So a $500,000 book of business should have approximately a budget

of two percent of that, which is $10,000.

(Transcript Page 137)

The Witness: In 2018, and the first two months of 2019, we spent $21,000 on your travel and

expenses.

9.

10.

When testifying who was in charge of the December 20, 2018 meeting regarding the secret
reassignment of Defendant’s clients to another advisor, Mr. Calder even acknowledged
that he as Managing Director of MMA was not in charge and it was in fact William Peartree
of MMAS. Jeff Calder as Managing Director of MMA certainly outranks William Peartree,
Director Retirement Services at MMAS if these were in fact clients of MMA. But where
these clients in question were concerned, MMA did not have any standing thus had to call
in William Peartree from MMAS to lead and handle that meeting.

(Transcript page 217)

THE COURT: Okay. And so how was it determined that -- was it just hierarchal, in other
words, that Mr. Peartree would take the lead on this?

THE WITNESS: Yes.

The Court keyed in on a critical point regarding which entity thee clients belong to by

asking for client agreements of the clients in question. Mr. Wickham tried to cloud this

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situation with a lengthy description of his personal opinion on what constitutes securities
activities for these clients and complaints in question.

(Transcript page 126-127)

MR. WICKHAM: So maybe I can help out. It just goes back to the principal dichotomy
between a producer, somebody who's engaged in sales, versus somebody who's engaged
in service. Producers, that's what they are doing, they are selling plans to clients and,
therefore, you know, they are engaged in the purchase and sales of securities. So when Mr.
Ferguson was a producer and he had his license and so on and so forth, then he’s at the
apex of his regulated activity. Once he moved from the producer category to the service
category, and he continued to maintain fiduciary responsibilities for some clients that were
assigned to him, not his clients, then he's not selling to them. So, you know, so there's less
regulated activity. He's doing the servicing, holding 401(k) meetings, and things of that
sort. So it's hybrid that there are activities that he is engaged in as an MMA client service
executive that is not regulated activity. That's not necessarily to the exclusion that there
might be some regulated activity that he's engaged in. So it's a hybrid situation.

THE COURT. I understand that.

MR. WICKHAM: And they have the contracts in place from a regulated regulatory
standpoint that they to have the regulatory contracts with the regulated entity, because
that's

what's required under FINRA regulations for that type of business. But, again, it's not to
the exclusion of the other, it's in addition to the other.

These statements by Mr. Wickham are incorrect as seen by the MMAS client contract

which lists all the services provided to these clients in question specifically as provided by

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ll.

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registered persons. Mr. Wickham’s statements are possibly also in violation of ABA Model
Rules of Professional Conduct Disciplinary Rule 7-106(c)(3) Trial Conduct.
DR-7-106
C. In appearing in his professional capacity before a tribunal, a lawyer shall not:

3. Assert his personal knowledge of the facts in issue, except when testifying as a

witness.
Plaintiff has not been able to show any contracts for Defendant’s services between clients
and MMA because at no time did Defendant’s clients ever have any agreements with MMA
for any of Defendant’s services. The MMAS client agreement itself specifies the exact
services and other applicable legal aspects for all the clients and information in regard to
these complaints and proceedings. In Defendants EH Exhibit 2, Page 7, Section A.
Description of Ongoing Services, the MMAS client agreement stipulates all the services
are provided specifically by representatives of MMAS and lists the services. Any services
Mr. Wickham falsely alluded to that could have been provided by MMA associates are
listed in the MMAS agreement which stipulates that only representatives of MMAS can
execute those services. This shows that Mr. Wickham’s statements are incorrect. And that
any statements by Plaintiff or it’s Counsel stating that MMA associates provided any of
MMAS’s services, are false.
Defendant's EH Exhibit 7, page 2, Section B. Confidential Information, specifically states
that MMAS will not share any confidential client information with ANY other entity and
does not exclude MMA. Thus, MMA could never have legally received or held any

confidential MMAS client information in question.

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12. Defendant’s EH Exhibit 2, 2 set of pages, Page 8-9, Section 10.b, “Affiliations”’ as stated
is a required disclosure of any entities associated to MMAS relative to all the clients in
question under these proceedings. The only entity relationship listed is another MMC
company, Mercer Investment Management, Inc. MMA is not listed because these are not
MMA clients and MMA is not involved with any aspect of MMAS client relationships or
information.

For the aforementioned reasons MMA does not have standing to bring these claims because
it does not have any corporate retirement plan clients or information which are the subject of these
complaints. Thus, the Court should dismiss these complaints and requests for lack of standing.

B. MMA has no injury and therefore does not have standing to bring the claims
against Mr. Ferguson via the restrictive covenant agreement.

As additional support to the arguments and references already submitted by Defendant’s
prior Counsel. Per the alleged MMA NS&CA, MMAS as a subsidiary of MMA could have brought
actions as the entity with the actual alleged injury but MMA has done so instead to circumvent
FINRA’s arbitration requirement.

It is important to note that MMAS did in fact claim ownership of these clients and
information by creating non-required disclosures to FINRA regarding the same clients and
information on March 13, 2019 via a form U-5. (Def EH Exhibit 7) MMAS concluded their internal
investigation and filed an amended U-5 Form with FINRA April 24, 2019 stating in effect, they
found no wrongdoing. MMA did not file their complaints in Federal Court until April 30, 2019.
This shows that MMAS claimed ownership of these clients and information well before MMA.

MMA does not deny that they have worked jointly with MMAS to bring the same
complaints regarding the same clients and same information in two different venues under two

different ownership claims, as testified by Jeff Calder.
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(Transcript page 164)

Q. So MMA Securities and MMA have worked together to file the same complaints with FINRA
and in civil court?

A. Yes.

There is no authentic proven NS&CA signed by Defendant. Even if there was, under that
agreement MMAS was obligated to bring any complaints resulting from violations of that
agreement, which they started to do by filing disclosures with FINRA for these same clients and
information but chose not to finish. Accordingly, the Court should dismiss this matter pursuant to
Fed. R. Civ. P., Rule 12(b)(1).

IV. In the Alternative, the Court Should Compel the Parties to Arbitrate

MMAS was obligated by the terms of the alleged NS&CA to bring any claims regarding their
clients and information. MMAS recognized this obligation when they filed disclosures with
FINRA. If MMAS had found any violations of the alleged NS&CA, as a FINRA member firm
they are required to bring any complaints to FINRA arbitration. Thus, as the party knowingly
receiving the benefit of their subsidiary’s securities clients and all inherent contractual obligations
and limitations that come with that benefit, MMA must also accept the arbitration requirement.

The Court should note that both parties agree FINRA has been thoroughly investigating
these claims since MMAS filed their disclosures in February 2019. Plaintiffhas stated both MMAS
and MMA have fully cooperated in giving all information and evidence regarding these
proceedings to FINRA, further proving a known understanding and acceptance of FINRA’s
arbitration requirement.

(Transcript page 174)

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MR. WICKHAM: They were required to disclose this. They were required to file the U-5. They
were required to put into the U-5, you know, certain information. There have been multiple
occasions when FINRA has come back to MMAS, and I'm assuming probably back to Mr.
Ferguson as well, asking for supplemental information. It's a FINRA investigation. MMAS had to
make what disclosures that it had to make.

THE COURT: Sure.

MR. WICKHAM: The characterizations of that, based on an absence of a full record, are not
accurate. I don't want to get into -- but I will say that pleadings from this case, the complaint,
various other things, have been submitted to FINRA. So the full character and nature of everything
that is going on here has been shared with FINRA as part of their investigation.

Defendant asks the Court to further note that after this extensive investigation by FINRA,
with full cooperation by all parties and all subsequent evidence, discovery, and testimony
submitted, FINRA has since closed their investigation on this matter with no action against
Defendant. (Attached Exhibit 1.) It is reasonable to conclude that the reason MMA filed these
complaints'in Federal Civil Court is because they and MMAS already knew the claims to be false
and would not stand up to scrutiny in the proper venue of FINRA and thus wanted to avoid the
FINRA arbitration requirement by filing claims in Federal Court.

A. Estoppel

In further support of the arguments and references already submitted by Defendant’s prior
Counsel. MMA argues in its Opposition that it (1) does not derive a direct benefit from the
agreement between Defendant and MMAS and (2) is not a third-party beneficiary of that
agreement. But Jeff Calder testified that MMA did in fact receive all the income derived from all

the securities activities Defendant performed regarding these clients under MMAS.

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(Transcript page 155-156)

Q. So the money that's earned from these contracts doesn't go to MMA; MMA is paying all of this
stuff just out of their pocket, the goodness of their heart?

A. At the end of the day, the money comes to MMA.

MMA received the income benefit of Defendant’s work under MMAS. MMA knew that
Defendant’s required registrations with MMAS contained an arbitration provision per Federal
regulations. MMA should therefore be estopped from avoiding arbitration.

B. Agency

In further support of the arguments and references already submitted by Defendant’s prior
Counsel. MMA should also be compelled to arbitrate under the agency theory. MMA is trying to
‘have it both ways.’ MMA states they own MMAS and are intertwined to such a large extent that
MMA has injury from alleged violations regarding MMAS clients and information. But MMA
also asserts that corporate affiliation on its own is insufficient to bind a non-signatory parent entity,
Pl.’s Opp., p. 15. Jeff Calder stated several times during his testimony that MMA considers the
MMAS securities clients as clients of MMA for reasons other than direct ownership.

(Transcript page 171)

THE COURT. I understand the question. The clients that are at issue -- well, I'll allow it,

whether -- putting aside the legality of the situation, is it your personal view that the clients that
are at issue here are MMA clients?

THE WITNESS: Yeah, absolutely. They were either referred in by a current MMA producer, or
the business that Rick brought in through his own efforts, we supported that, we paid for that, we
paid for those activities; we paid for all of the travel, all the entertainment; we paid for the

service staff to service those clients. MMA paid for that.

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MMA considers itself emmeshed with MMAS via mutual referrals and other actions to such an
extent that would qualify MMAS as an agent of MMA. Accordingly, the Court should also dismiss
this matter and compel arbitration pursuant to the agency theory.

V. The Complaint Should Also Be Dismissed Under Rule 12(b)(7)

A. MMAS is a necessary party.

In further support of the arguments and references already submitted by Defendant’s prior
Counsel. MMAS proved ownership of these clients and information by filing disclosures to
FINRA well before MMA filed claims in Federal Court in efforts to avoid FINRA arbitration
requirements. Plaintiff's only other defense of MMAS’s and MMA’s interest in these clients being
“virtually identical” was shown incorrect, and directly, if reluctantly, contradicted by its own
witness’s testimony regarding the separate business activities of MMAS and MMA. MMA is an
insurance brokerage company with no common lines of business with MMAS, a broker-
dealer/RIA firm registered with FINRA and the SEC.

(Transcript page 170)

Q. Did I do any line of business under MMA that wasn't specifically first under MMAS?

A. You are paid by MMA partially to do the securities side of the business and partially to service
the clients.

QO. Jeff, that's not what I asked. Did I do any line of business, work on anything that wasn't under
MMA Securities?

A. No, I don't think you did, no.

MMAS’s registration with FINRA and the arbitration requirement for any claims regarding these
clients further proves that MMA cannot legally represent MMAS’s interest in these complaints

because MMAS is required to arbitrate with FINRA. This situation has already been contemplated

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by FINRA with offending companies held responsible. While not a Federal Court case, Defendants
EH Exhibit 10, FINRA Matter #2009020188101 is worth reviewing as an example of FINRA’s
Federally accepted position regarding this same situation of a non-FINRA registered entity
bringing complaints in court on behalf of an associated subsidiary FINRA registered entity, against
registered associates like the Defendant. The non-registered entity was forced to stop all court
proceedings against the registered associate and the affiliated registered entity was fined
$1,000,000.

B. MMAS is an indispensable party.

In further support of the arguments and references already submitted by Defendant’s prior
Counsel. MMA’s own testimony shows they consider MMAS indispensable to these claims, and
that MMA and MMAS have been fully coordinating all their efforts, exchanging and supplying
joint information for tactical reasons in submissions to FINRA and Federal Court, and relying
indispensably on each other.

(Transcript page 164)
Q. I guess I'm confused. A moment ago you said to your knowledge more things have been
submitted to FINRA?
A. I don't know that it had been submitted to FINRA. We have more information now than we did
when this file was closed. And I think that they will submit that to FINRA.
Q. When you say "we," do you mean MMA or MMA Securities?
A. I think we are both in possession of the information.
(Transcript page 164)

QO. Why would MMA even bring MMA Securities into it then?

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A. MMA Securities has been a part -- we're running a dual action here. They are getting the same
discovery we are getting.
QO. So MMA Securities and MMA have worked together to file the same complaints with FINRA
and in civil court?
A. Yes.
(Transcript page 167)
THE COURT: Okay. Do you have an understanding of whether there's an intention by MMAS to
supplement the information that it previously provided to FINRA?
THE WITNESS: I believe there is.
(Transcript page 177)
The Court: “....I take it -- well, let me ask it. I'm not sure I got, Mr. Wickham, your response to
this: Are you representing the company in connection with the FINRA part of this or is that
another counsel, or is that internal?
MR. WICKHAM: None of the above. It's through MMAS's compliance officer. And she is
responding to what inquiries that FINRA has had. Necessarily they will be consulting with counsel
concerning drafting of responses to be able to be sure that everything that's submitted to FINRA
is accurate and at least with regard to the circumstances about the claims asserted in this case.
So we have been consulted on those matters, but it is MMAS's chief compliance officer who was
interfacing with FINRA in connection with FINRA’s investigation. ”

Jeff Calder and Mr. Wickham’s statements make it clear that MMAS in an integral part of
MMA’s complaints and vice versa. The Court should therefore dismiss this matter under Rule

12(b)(7) because MMA has failed to join MMAS, a necessary and indispensable party.

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VI. ‘California Law Applies to All Causes of Action and Should be Dismissed with

Prejudice Under California Labor Code Section 925.

In addition to and further support of the arguments and references already submitted by

Defendant’s prior Counsel. The Court should apply California law also because; 1) The only valid

contract not under dispute and applicable to these claims states California as governing law; 2)

Even if the Court should find the false MMA NS&CA has any applicability, which it should not,

California Labor Code Section 925 would require the choice of California law as governing law.

I.

The alleged MMA NS&CA has been proven to be a false document and should be

disregarded, leaving the only contract between Defendant and MMA that is applicable

to these complaints with a governing law clause and undisputed by both parties in this
matter, is one signed January 14, 2014, which states Choice of Law as California.
(Attached here as Exhibit 3).
California Labor Code Section 925 prohibits the use of contract provisions that apply
another state’s law or require adjudication of disputes in another state as a condition of
the employment of an individual who primarily resides and works in California. It
applies to contracts entered into, modified, or extended on or after January 1, 2017.
Specifically, the code states;
(a) An employer shall not require an employee who primarily resides and works in
California, as a condition of employment, to agree to a provision that would do either
of the following:

(1) Require the employee to adjudicate outside of California a claim arising in

California.

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(2) Deprive the employee of the substantive protection of California law with
respect to a controversy arising in California.

(b) Any provision of a contract that violates subdivision (a) is voidable by the
employee, and if a provision is rendered void at the request of the employee, the matter
shall be adjudicated in California and California law shall govern the dispute.

(c) In addition to injunctive relief and any other remedies available, a court may
award an employee who is enforcing his or her rights under this section reasonable
attorney's fees.

(d) For purposes of this section, adjudication includes litigation and arbitration.

(e) This section shall not apply to a contract with an employee who is in fact
individually represented by legal counsel in negotiating the terms of an agreement to
designate either the venue or forum in which a controversy arising from the
employment contract may be adjudicated or the choice of law to be applied.

(f) This section shall apply to a contract entered into, modified, or extended on or
after January 1, 2017.

There is no dispute that Defendant lived and worked primarily in California. There
is no dispute that Defendant wants to void the provision requiring the application of
New York law. There is no dispute Defendant is enforcing his rights under this code
section by defending himself in Federal Court and all other related actions in FINRA
and California. There is no dispute that Defendant was not represented by legal counsel
in negotiating the agreement in question. MMA materially modified and recognized an
extension of Defendant’s contract in November 2018 under a new contract supplement

that significantly changed material aspects of Defendant’s job duties and functions as

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a Fiduciary Advisor, compensation, bonus structures, and direct supervisor
relationships. (Attached here as Exhibit 4) While MMA has desperately tried to
obfuscate the ongoing disagreements around Defendant’s disputed compensation
structure and amounts due relative to Defendant’s MMAS clients, Jeff Calder gave
testimony, when pressed, admitting that a material change in Defendant’s job functions
happened as part of the disputed reassignment of Defendant’s MMAS clients from
Defendant to Jeff Stephens.

(Transcript page 68)

THE COURT; Well, were these clients -- what does that -- I'm not sure I understand
what that means. In other words, were the clients -- what were the clients going to be
advised or were they not going to be advised at all, because Mr. Ferguson was still
going to maintain whatever interaction he had with those clients going forward?

THE WITNESS: No. Mr. Ferguson was not going to continue -- he told us he would not
continue as a fiduciary on those accounts. So then we would have to switch that role to
Jeff Stephens going forward.

A simple reading of the MMAS client contract (Def EH Exhibit 2) shows Defendant
provided specific Fiduciary services as legally defined by the Employee Retirement
Income Security Act of 1974 (ERISA), and Defendant was specifically named as the
representative of MMAS providing all the said services, and the services are listed in
the contract and are the only services provided to these clients. In other words,
removing Defendant as the Fiduciary advisor to these clients meant Defendant would
no longer legally be allowed to provide any of the contracted services under the

agreement that Defendant had been providing. A significant and material change.

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MMA’s own legal counsel produced an opinion on this issue strongly supporting
that California law should be applied in this situation, and even supports the position
that MMA may have knowingly committed an illegal act when it required provisions
requiring New York law. (Attached here as Exhibit 5.) Given that MMA’s own long-
time counsel produced this opinion, MMA cannot plausibly take a position that it was
unaware of California Labor Code Section 925 and the ramifications.

For these reasons the Plaintiff's complaints and requests should be dismissed with Prejudice.
VII. Complaints and Requests Should Be Dismissed Due to Unclean Hands Doctrine.

As a general rule, a claim is barred under the doctrine of unclean hands when “(1) a party seeking
affirmative relief (2) is guilty of conduct involving fraud, deceit, unconscionability, or bad faith
(3) directly related to the matter in issue (4) that injures the other party and (5) affects the balance
of equities between the litigants.” Imprisoned Citizens Union v. Shapp, \1 F. Supp. 2d 586, 608
(E.D. Pa. 1998) (citation and internal quotation marks omitted), aff'd, 169 F.3d 178 (3d Cir. 1999);
see also Lucey v. Workmen's Comp. Appeal Bd., 732 A.2d 1201, 1204 (Pa. 1999) (stating the
doctrine of unclean heads “closes the doors of a court of equity to one tainted with inequity or bad
faith relative to the matter in which he seeks relief”).

MMaA has Unclean Hands when it knowingly violated California Labor Code Section 925
in its agreements in order to be able to erroneously bring these complaints as already shown. MMA
also has Unclean Hands by reason of estoppel when it secretly colluded with MMAS to take
Defendant’s MMAS clients and give them to another Advisor without informing Defendant or
more importantly the clients in question, in violation of the Fiduciary duty to clients and in
violations of securities regulations, and then instructed Defendant to take actions to cover up

Plaintiff's violations, regarding which Plaintiff is now bringing complaints.

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Plaintiff has not denied it planned and executed a process to take clients from Defendant
and give to another Advisor without the Defendant’s knowledge. Jeff Calder’s testimony supports
this position.

(Transcript page 198-199)

“QO. ....Why were my accounts transferred to a house account, from SagePoint to MMAS?
A. You were still going to be the adviser on the account.

QO. When did anybody talk to me about that?

A. I don't know that they did....”

Plaintiff absurdly asks the Court to accept the position that Defendant was in full agreement
and even requested MMA and MMAS to give up his clients that paid a much higher compensation,
and give that higher compensation to another Advisor, in exchange for Defendant getting a lower
position with less relative compensation. This disagreement of the situation is a subject of
Defendant’s current claims against Plaintiff and MMAS in FINRA, the proper venue for these
issues. For purposes of these complaints in Federal Court, Plaintiff and Defendant are shown to
agree that Defendant’s clients were taken from him, purposely without his knowledge.

Plaintiff and Defendant are shown to agree that after much disagreement about this transfer
of Defendant’s clients, a meeting was held December 20, 2018. Defendant is the only party that
has demonstrated taking notes on the day of this meeting by Defendant’s EH Exhibit 29 whereby
Defendant emailed himself the meeting notes the very same day. It is telling that MMA has had
every chance to provide contrary evidence, but has not in any submissions to the Court to date,
shown any concrete evidence defending its position regarding this meeting by the other 3 parties
regarding this material issue. Any notes now provided MMA after the fact are obviously suspicious

as to authenticity.

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Further, Defendant's EH Exhibits 28, 29, 30, 31, 32, 33, and even Plaintiff's own EH
Exhibit 16 clearly show the Defendant’s understanding of MMA’s instructions from that
December 20, 2018 meeting, and that Defendant made his understanding blatantly obvious to all
parties even asking MMA multiple times to verify his understanding of MMA’s instructions.
Defendant did not hide any of his actions resulting from MMA’s instructions, as exemplified by
Plaintiff’s plentiful examples, which only further support Defendant’s position that he was openly
following MMA’s instructions. Plaintiff's position that Defendant was secretly working to steal
clients is absurd considering all the evidence to the contrary.

It is clear from evidence and testimony that MMA tried to steal Defendant’s clients
violating regulations in the process, and when Defendant found out and stated his intentions as a
whistleblower to counter MMA’s deceitful actions, MMA give him instructions to remedy that
situation which MMA is now using to file claims against Defendant. For these reasons Plaintiff's
claims and requests should be dismissed under the Unclean Hands Doctrine.

CONCLUSION

For the foregoing reasons, Defendant respectfully requests that the Court dismiss this
matter pursuant to Rules 37(c)(1), 60(b)(3), 12(b)(1), 12(b)(7), and Unclean Hands Doctrine, or
compel the parties to arbitrate, and to apply California law as governing law.

Dated: December 17, 2019 Respectfully submitted,
San Bruno, CA

/s Elmer R. Ferguson

Elmer R. Ferguson

Defendant, Pro Se

753 Mills Ave, San Bruno, CA 94066

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Exhibit 1 - FINRA Closure Letter
November 5, 2019
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Financial Industry Regulatory Authority
November 5, 2019

Elmer Ferguson
753 Mills Ave
San Bruno, CA 94066

Re: Examination Disposition Letter
Examination Number: 20190619354

Dear Mr. Ferguson:

This is to inform you that FINRA has completed a review into the U5 Filing from MMA
Securities, LLC.

Based on our inquiry, we have determined to close our file pertaining to this matter. This
determination is based on the facts known to us at this time. In this regard, new or additional
facts could lead to a new inquiry.

it is our view that a determination by FINRA not to take action against a FINRA member ora
member associated person has no evidentiary weight in any mediation, arbitration, or judicial
proceeding. Further, it is inconsistent with just and equitable principles of trade for a FINRA
member or a member's associated person to attempt to introduce such a determination into
evidence in any of these forums, provided that in the event a party other than a member or
associated person makes representations in a proceeding inconsistent with this letter, the
member or associated person may introduce this letter, in unedited form, but only for the
purpose of creating a complete factual record.

If you have any questions, please contact Examination Manager Michele Sterling at 212-858-
4288, or the undersigned at 516-827-6150.

Sincerely,

 

Michael Gerena
Associate Director

cc: MMA Securities LLC
Triad Advisors LLC

Confidential
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Exhibit 2 - Original MMA NS&CA from MMA
not signed
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BARNEY & BARNEY/MMA NON-SOLICITATION AND CONFIDENTIALITY
AGREEMENT

AGREEMENT, dated as of , 2014, between
Barney & Barney, a Marsh & McLennan Agency LLC company, and/or subsidiaries thereof (the
“Employer”), together with its parents and affiliates (collectively, the “Company”), and Elmer
Ferguson, an employee of the Employer (the “Employee’’).

RECITALS:
WHEREAS, on the date hereof, Employer acquired one-hundred percent (100%)
of the membership interest in BARNEY & BARNEY, LLC (“Barney & Barney”, and such
membership purchase referred to herein as the “Barney & Barney Acquisition’); and

WHEREAS, simultaneously with or immediately subsequent to the Barney &
Barney Acquisition, Barney & Barney was merged with and into the Employer and the Employer
shall be the surviving entity of such merger; and

WHEREAS, Employee was employed by Barney & Barney immediately prior to
the Barney & Barney Acquisition, and subsequent to the merger has been offered, and has
accepted, employment with the Employer; and

WHEREAS, this Agreement is entered into in consideration of the Employee’s (a)
employment or continued employment by the Employer, (b) access to Confidential Information
and Trade Secrets belonging to the Company, as defined below; and (c) receipt of payment in the
amount of $5,000.

NOW, THEREFORE, the Employer and the Employee hereby agree to be bound
by this Non-Solicitation and Confidentiality Agreement, as follows:

1. Confidential Information and Trade Secrets

(a) Employee understands and acknowledges that as an employee of the
Company, Employee will learn or have access to, or may assist in the development of, highly
confidential and sensitive information and trade secrets about the Company, its operations and its
clients, and that providing its clients with appropriate assurances that their confidences will be
protected is crucial to the Company’s ability to obtain clients, maintain good client relations, and
conform to contractual obligations. Such Confidential Information and Trade Secrets include but
are not limited to: (i) financial and business information relating to the Company, such as
information with respect to costs, commissions, fees, profits, sales, markets, mailing lists,
strategies and plans for future business, new business, product or other development, potential
acquisitions or divestitures, and new marketing ideas; (ii) product and technical information
relating to the Company, such as product formulations, new and innovative product ideas,
methods, procedures, devices, machines, equipment, data processing programs, software,
software codes, computer models, and research and development projects; (iii) client
information, such as the identity of the Company’s clients, the names of representatives of the
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Page 2

Company’s clients responsible for entering into contracts with the Company, the amounts paid
by such clients to the Company, specific client needs and requirements, specific client risk
characteristics, policy expiration dates, policy terms and conditions, information regarding the
markets or sources with which insurance is placed, and leads and referrals to prospective clients;
(iv) personnel information, such as the identity and number of the Company’s other employees
and officers, their salaries, bonuses, benefits, skills, qualifications, and abilities; (v) any and all
information in whatever form relating to any client or prospective client of the Company,
including but not limited to its business, employees, operations, systems, assets, liabilities,
finances, products, and marketing, selling and operating practices; (vi) any information not
included in (i) or (ii) above which Employee knows or should know is subject to a restriction on
disclosure or which Employee knows or should know is considered by the Company’s clients or
prospective clients to be confidential, sensitive, proprietary or a trade secret or is not readily
available to the public; or (vii) intellectual property, including inventions and copyrightable
works. Confidential Information and Trade Secrets are not generally known or available to the
general public, but have been developed, compiled or acquired by the Company at its great effort
and expense. Confidential Information and Trade Secrets can be in any form, including but not
limited to: oral, written or machine readable, including electronic files.

(b) Employee acknowledges and agrees that the Company is engaged in a
highly competitive business and that its competitive position depends upon its ability to maintain
the confidentiality of the Confidential Information and Trade Secrets which were developed,
compiled and acquired by the Company at its great effort and expense. Employee further
acknowledges and agrees that any disclosing, divulging, revealing, or using of any of the
Confidential Information and Trade Secrets, other than in connection with the Company’s
business or as specifically authorized by the Company, will be highly detrimental to the
Company and cause it to suffer serious loss of business and pecuniary damage. Accordingly,
Employee agrees that he or she will not, while associated with the Company and for so long
thereafter as the pertinent information or documentation remains confidential, for any purpose
whatsoever, directly or indirectly use, disseminate or disclose to any other person, organization
or entity Confidential Information and Trade Secrets, except as required to carry out his or her
duties as an employee of the Company, and except as expressly authorized by the President or
highest executive officer of the Employer. Nothing in this Agreement is intended to prohibit
Employee from discussing with other employees, or with third parties who are not future
employers or competitors of the Company, wages, hours, or other terms and conditions of
employment.

(c) Immediately upon the termination of employment with the Company for
any reason, or at any time the Company so requests, Employee will return to the Company: (i)
any originals and all copies of all files, notes, documents, slides (including transparencies),
computer disks, printouts, reports, lists of the Company’s clients or leads or referrals to
prospective clients, and other media or property in Employee’s possession or control which
contain or pertain to Confidential Information and Trade Secrets; and (ii) all property of the
Company, including, but not limited to, supplies, keys, access devices, books, identification
cards, computers, telephones and other equipment. Employee agrees that upon completion of the
obligations set forth in this subparagraph, and if requested by the Company, Employee will
execute a statement declaring that he or she has retained no property of the Company or
materials containing Confidential Information and Trade Secrets nor has he or she supplied the
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same to any person, except as required to carry out his or her duties as an employee of the
Company. A receipt signed by an Officer of the Company itemizing the returned property is
necessary to demonstrate that Employee has returned all such property to the Company.

(d) Employee acknowledges and agrees that Employee is not authorized to
access and use the Company’s computer systems and protected computers, including laptop
computers and Company PDA’s, and the data contained therein, for personal gain or to benefit
third parties (other than in the course of Employee’s performance of services for the Company or
as expressly and specifically authorized by the Company) and that any such access or use is
unauthorized and may be punishable by law as well as constituting a breach of this Agreement.

2. Non-Solicitation Of Clients

(a) Employee acknowledges and agrees that solely by reason of employment
by the Company, Employee has and will come into contact with and develop and maintain
relationships with a significant number of the Company’s clients and prospective clients, and
will have access to Confidential Information and Trade Secrets relating thereto, including those
regarding the Company s clients, prospective clients and related information.

(b) Consequently, Employee covenants and agrees that in the event of
separation from employment with the Company, whether such separation is voluntary or
involuntary, Employee will not, for a period of twenty-four (24) months following such
separation, directly or indirectly use Confidential Information and Trade Secrets or related
information regarding the Company, the Company’s clients and its prospective clients to solicit
clients or prospective clients of the Company for the purpose of selling or providing products or
services of the type sold or provided by Employee while employed by the Company. This
restriction shall apply only to those clients or prospective clients of the Company with which
Employee had contact during the last two (2) years prior to the separation of his or her
employment with the Company. For the purposes of this Section 2, the term “contact” means
interaction between Employee and the client which takes place to further the business
relationship, or making (or assisting or supervising the performance or provision of) sales to or
providing or performing (or assisting or supervising the performance or provision of) products or
services for the client on behalf of the Company. For purposes for this Section 2, the term
“contact” with respect to a “prospective” client means interaction between Employee and a
potential client of the Company which takes place to obtain the business of the potential client on
behalf of the Company. Employee shall not engage in any subterfuge to circumvent this
prohibition, including providing Confidential Information and Trade Secrets to others to assist
them in soliciting or serving the client.
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3. Non-Solicitation Of Employees

Employee acknowledges and agrees that solely as a result of employment with the
Company, and in light of the broad responsibilities of such employment which include working
with other employees of the Company, Employee has and will come into contact with and
acquire Confidential Information and Trade Secrets regarding other employees of the Company,
and will develop relationships with those employees. Accordingly, both during employment
with the Company and for a period of twenty-four (24) months thereafter, Employee shall not,
either on Employee’s own account or on behalf of any person, company, corporation, or other
entity, directly or indirectly, solicit any employee of the Company with whom Employee, during
the last two (2) years of his or her employment with the Company, came into contact for the
purpose of soliciting or servicing business, to leave employment with the Company.

4, Conflict Of Interest

Employee may not use his or her position, influence, knowledge of Confidential
Information and Trade Secrets or the Company’s assets for personal gain, except as specifically
provided in this Agreement. A direct or indirect financial interest, including joint ventures in or
with a supplier, vendor, client or prospective client without disclosure and the express written
approval of the President or highest executive officer of Employer is strictly prohibited and
constitutes cause for dismissal.

5, Employee’s Acknowledgement

Employee hereby expressly acknowledges and agrees that (a) the restrictions and
obligations set forth in and imposed by Sections 1, 2, 3 and 4 will not prevent Employee from
obtaining gainful employment in Employee’s field of expertise or cause Employee undue
hardship; and (b) the restrictions and obligations imposed on Employee under Sections 1, 2, 3
and 4 are necessary to protect the legitimate business interests of the Company and are
reasonable in view of the benefits and consideration Employee has received or will receive from
the Company.

6. Equitable Relief

In recognition of the fact that irreparable injury will result to the Company in the
event of a breach by Employee of his or her obligations under Section 1, 2, 3 or 4 of this
Agreement, that monetary damages for such breach would not be readily calculable, and that the
Company would not have an adequate remedy at law therefor, Employee acknowledges,
consents and agrees that in the event of such breach, or the threat thereof, the Company shall be
entitled, in addition to any other legal remedies and damages available, to (a) specific
performance thereof and to temporary and permanent injunctive relief (without the necessity of
posting a bond) to restrain the violation or threatened violation of such obligations by Employee
and persons acting for or in connection with Employee and (b) recovery of all reasonable sums
and costs, including attorneys’ fees, expert witness fees, and expenses and costs incurred by the
Company in seeking to enforce the provisions of this Agreement.

7. Liquidated Damages
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(a) Employee acknowledges and agrees that the Company will be injured by
any violation of Section 1, 2, 3 or 4, that it will be difficult or impossible to ascertain the full
amount of damages that the Company will sustain by reason of such breach, and that accordingly
the Company does not have an adequate remedy at law for any such breach. Employee further
agrees that in the event that Employee breaches the provisions of Section 2the Company is
entitled to recover damages, in addition to all other remedies to which it is entitled, even though
such damages cannot be readily ascertained and will not make the Company whole or fully
remedy the breach. Employee acknowledges that many of the Company’s clients enjoy long term
business relationships with the Company and expand their business relationship with the
Company over time and that the loss of a client will therefore likely result in the loss of an
increasing revenue stream to the Company from that client for a significant but indeterminate
period of time into the future, extending beyond the period that Section 2 is in effect. Employee
further acknowledges that the loss of a client erodes the goodwill enjoyed by the Company, and
that the loss of a client reduces referral opportunities and business from existing clients,
including opportunities for the Company to obtain or service business from that client in addition
to business from that client that Employee personally obtained or serviced. Employee
acknowledges that the Company’s acquisition of clients is a result of the Company’s investment
of time and money in hiring personnel, including Employee, and development of Confidential
Information and Trade Secrets for the purpose of attracting and servicing clients, in developing a
technological and business infrastructure, and in otherwise enabling Employee to form and
maintain relationships with clients, and acknowledges that a breach of the obligations of
Section 2 or reduces the value of the Company’s investment in a manner and to an extent which
cannot be fully calculated. Employee further acknowledges that a breach of the obligations set
forth in Section 2will force the Company to incur out-of-pocket costs such as increased
overhead, increased costs in protecting and developing Confidential Information and Trade
Secrets, increased financial accommodations to clients, increased costs in deploying personnel to
attempt to retain clients, and other costs, which cannot be readily allocated or calculated.
Employee acknowledges that these and other uncertainties make it difficult to ascertain the
amount of damage that the Company will sustain from a breach of Section 2.

(b) Recognizing the difficulty of calculating actual damages and
acknowledging the factors set forth in Section 7(a), among other factors, in the event of a
violation of Section | or 2resulting in a client either reducing the amount of business or
canceling business with the Company and directing or redirecting such business through
Employee or through any entity or person with whom Employee becomes associated, in addition
to all other remedies provided herein, Employee agrees to pay the Company an amount equal to
three (3) times the total fees and commissions received by the Company for such business during
the 12 months prior to the breach. Said amount shall be payable to the Company no later than
thirty (30) days following Employee’s receipt of the Company’s written statement of the total
fees and commissions for that client for the prior!2 months. Employee acknowledges and agrees
that this amount is a reasonable approximation of the damages likely to occur following a breach
of Section 1, 2, 3 or 4.

(c) The remedy set forth in Section 7(b) shall be in addition to and not in
place of such additional remedies as the Court may order, including equitable relief to prevent
further breaches or to provide further remedies. To the extent that the Court determines that
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Section 7(b) is not enforceable, or if the Company elects to prove its actual damages, the Court
shall sever Section 7(b) and the Company shall recover its actual damages.

(d) This provision shall not affect the damages or other remedies the
Company may recover from any other provisions of this Agreement.

8. Severability

The parties agree they have attempted to limit the scope of the post-employment
restrictions contained herein to the extent necessary to protect Confidential Information and
Trade Secrets, client relationships and good will. It is the desire and intent of the parties that the
provisions of this Agreement shall be enforced to the fullest extent permissible under applicable
laws and public policies. Accordingly, if any particular portion of this Agreement shall be
adjudicated to be invalid or unenforceable, this Agreement shall be deemed amended to delete
therefrom such invalid portion, and reformed to the extent valid and enforceable. Such deletion
and reformation shall apply only with respect to the operation of this Agreement in the particular
jurisdiction in which such adjudication is made.

9, Other Agreements and Obligations Survive

Neither the Employee nor the Company intends to waive or release the
applicability of any other more extensive legal or contractual obligations the Employee may owe
the Company at any particular time, including, but not limited to, obligations under any
employment agreement between the Employee and the Company whether executed prior to this
Agreement or at any time hereafter with regard to the subject matters of Sections 1, 2, 3 or 4.

Except as otherwise provided in this Section, the obligations of Employee under
this Agreement shall be independent of, and unaffected by, and shall not affect, other agreements
binding Employee which apply to Employee’s business activities during and/or subsequent to
Employee’s employment by the Company, including any employment agreement between
Employee and the Company whether executed prior to this Agreement or at any time hereafter.
The obligations under this Agreement also shall survive any changes made in the future to the
employment terms of Employee, including but not limited to changes in salary, benefits, bonus
plans, job title and job responsibilities.

10. Employment Unaltered

Employee understands that this Agreement does not constitute a contract of
employment and does not promise or imply that his or her employment will continue for any
period of time

11. Binding Effect; Assignment

Employee expressly consents to be bound by the provisions of this Agreement for
the benefit of Employer or any of its subsidiaries or affiliates to whose employ he or she may be
transferred without the necessity that this Agreement be re-signed at the time of such transfer.
Employee consents that any such subsidiary or affiliate may enforce this Agreement. Further,
the rights of the Company hereunder may be assigned or, as applicable, shall pass by operation
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of law, without further consent of the Employee, at any time, to any successor in interest of the
Company, or any portion thereof, by reason of merger, consolidation, sale, lease or other
disposition of any or all of the assets or stock of the Company.

12. Governing Law and Choice of Forum

The parties acknowledge that the Company is headquartered in New York, that
senior members of the leadership team of the Company are based in New York, and that breach
of this Agreement will cause injury in New York. This Agreement shall be governed by, and
construed in accordance with, the laws of the State of New York, without regard to its conflict of
laws provisions. The parties, being desirous of having any disputes resolved in a forum having a
substantial body of law and experience with the matters contained herein, agree that any action
or proceeding with respect to this Agreement and Employee’s employment shall be brought
exclusively in the Civil Court of the City of New York, New York County, or in the Supreme
Court of the State of New York, New York County, or in the United States District Court for the
Southern District of New York and the parties agree to the jurisdiction thereof. The parties
hereby irrevocably waive any objection they may now or hereafter have to the laying of venue of
any such action in the said court(s), and further irrevocably waive any claim they may now or
hereafter have that any such action brought in said court(s) has been brought in an inconvenient
forum. Employee recognizes that, should any dispute or controversy arising from or relating to
this Agreement be submitted for adjudication to any court, arbitration panel or other third party,
the preservation of the secrecy of Confidential Information and Trade Secrets may be
jeopardized. Consequently, Employee agrees that all issues of fact shall be severed for trial
without a jury.

13. Non-Waiver

The failure of either the Company or Employee, whether purposeful or otherwise,
to exercise in any instance any right, power, or privilege under this Agreement or under law shall
not constitute a waiver of any other right, power, or privilege, nor of the same right, power, or
privilege in any other instance. Any waiver by the Company or by Employee must be in a
written or electronic instrument signed by either Employee, if Employee is seeking to waive any
of his or her rights under this Agreement, or by the President or highest executive officer of
Employer, if the Company is seeking to waive any of its rights under this Agreement.

14. Modification; Agreement to Enter into Additional Agreements

No modification of this Agreement shall be valid unless made in a written or
electronic instrument signed by both parties hereto, wherein specific reference is made to this
Agreement; provided, however, that the Company may make changes to the Agreement that are
favorable to Employee (e.g., to conform the provisions of this Agreement to changes in court
decisions or legislation), without securing the written consent of Employee to the change.
Should Employee move to a different state or jurisdiction while employed by the Company or
upon written request of the Company, Employee agrees to sign, without further consideration,
upon direction by the Company, such further writings to effectuate the provisions of this
Agreement as necessary to comply with applicable law. Employee’s failure to sign such
additional agreements shall constitute a breach of this Agreement.
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15. Cooperation

Both during Employee’s employment with the Company and after the termination
thereof for any reason, Employee agrees to provide the Company with such information relating
to his or her work for the Company or others, as the Company may from time to time reasonably
request in order to determine his or her compliance with this Agreement.

16. Disclosure

Employee hereby specifically authorizes the Company to contact his or her future
employers to determine his or her compliance with the Agreement or to communicate the
contents of this Agreement to such employers. Employee further specifically authorizes the
Company to, in its sole discretion and without further permission from Employee, furnish copies
of the Agreement to any client or prospective client of the Company and indicate that Employee
has entered into this Agreement with the intention that the Company and each of its clients or
prospective clients may rely upon his or her compliance with this Agreement.

17. Headings

Section headings are used herein for convenience or reference only and shall not
affect the meaning of any provision of this Agreement.

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IN WITNESS WHEREOF, the parties have executed this Agreement as of the day and year first
hereinabove set forth.

 

 

Employee Signature

 

Employee Name (Please Print)

Date:

 

Employer:

Name: Sharon M. Werner
Title: Senior Vice President, Human Resources

 

Date: January 31, 2014
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Exhibit 3 - Ferguson BnB Agreement 110113
signed 011414
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The Agreement is entered into this Ist day of November, 2013 between Barney & Barney,

a limited liability company (hereinafter referred to as “B&B"), and Elmer (Rick) Ferguson
(hereinafter referred to as “Employee"). In consideration of the mutual promises and
agreements contained herein, as well as other valuable consideration, it is agreed as follows:

ARTICLE 1

Duration of Employment
1.1, AtWill Employment. B&B agrees to employ Employee on an at-will basis,
Accordingly, either B&B or Employee may terminate the employment relationship at any time, for
any reason or no reason, with our without cause or notice. Any prior contrary representations,
expressed or implied, are hereby superseded. This at-will term of employment may only be
modified in writing, signed by both Employee and B&B's Managing Principal.

ARTICLE 2

Employee Responsibilities

2.1 Scope of Duties. Employee is hired in the capacity of Client Executive, Sates, with
all the duties and responsibilities attendant to that position. In this position, Employee shall
receive and transmit proposals or instruments and contracts of insurance covering persons or
entities in California and other places where B&B is licensed to do business for such classes of risk
as B&B shall authorize and subject to B&B's authority to make such contracts and to all
applicable laws and requlations. Employee is also authorized to collect and receive premiums
on insurance contracts tendered by Employee and accepted by B&B. Further, Employee
agreés to tender to B&B each and every contract of Insurance produced by Employee and
remit fo B&B all premiums and commissions received by Employee, including any insurance
company saies bonuses or incentives,

2.2 Performance of Duties. Employee agrees to devote his or her full-time and best

 

efforts to the business of B&B. Employee will, at all times, loyally and conscientiously perform all
duties and obligations either expressly or implicitly required by B&B and this Agreement. Employee

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further agrees not to engage in any outside activity or business that would interfere with, or be in
conflict or competition with, the business of B&B or Employee’s responsibilities under this Agreement.
2.3 Confidential Information and Materials. Due to the nature of Employee's duties,
s/he will have access to and become acquainted with B&B's customer lists, files, expiration
records, sales reports, policy terms, conditions and rates, client risk characteristics and other
confidential documents, as well as various other trade secrets consisting of compilations of
information, records, and operational Procedures which are all owned by B&B and which are
regularly used in the Operation of its business (“Confidential Information”). Employee shall not
disclose the contents of any of such Confidential Information, or any other confidential or
Proprietary information of B&B, directly or indirectly, or use it in any way, either during the term of

Or proprietary information,

2.4 No Solicitation of Clients. Employee understands and agrees that s/he shall not at
any time use any of B&B's confidential or proprietary information or materials, either on
Employee’s own account or in association with any other person, firm, corporation or other
entity, to solicit, induce, encourage, entice away or divert any person or entity which was a
Client of B&B during the time of Employee's employment with B&B, exciuding any clients that
Employee brings to B&B at the inception of his / her employment who were not previously clients
of B&B, Employee also agrees not fo provide any other Person or entity with any confidential or
proprietary information regarding B&B clients for Purposes of assisting that Person or entity in
contacting or soliciting such Clients.

2.5 No Solicitation of Employees. During the term of employment with B&B and for q
period of 24 months following the end of employment, for whatever reason, Employee shall not,
directly or indirecily, induce or attempt to Induce, any employee of B&B fo end or diminish
his/her relationship with B&B, or solicit or attempt fo solicit any B&B employee for outside
employment. Employee shall also not provide any information about B&B's employees to any

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other person for the Purpose of assisting any third party to solicit the Company's employees for
outside employment.

2.6 Prior Agreements. Employee represents to B&B that s/he is not subject to any
contractual agreement that would limit Empioyee’s right to accept employment with B&B, or
perform the assigned cuties referenced above. Employee also represents that Employee will not
Use Or disclose any confidential or proprietary information of any other person or entity in
connection with the duties required under this Agreement.

2,7 Liquidated Damages, ff Employee breaches any provision of Paragraph 2.4 of
this Agreement, Employee agrees to promptly pay to B&B an amount of liquidated damages
equal fo the amount of any commission, fee or compensation related to any clients solicited,
The parties agree that this provision is reasonable under the circumstances existing at the time
this Agreement due to the fact that it woutd be impractical or extremely difficult to fix the actual
damages, This liquidated damages provision shall not prevent B&B from seeking additional
actual damages if such can be proved, as well as equitable relief, as appropriate as set forth in
Pporagraph 2.8 below.

2.8 Other Remedies. Employee recognizes and agrees that the liquidated damages

 

set forth above may not be an adequate or an appropriate remedy for a breach by Employee
of any of the agreements set forth in Paragraphs 2.3, 2.4 and 2.5 above, because the breach
relates to matters which are of q special, unique or extraordinary character, or because the
breach causes a loss for which B&B may not be reasonably or adequately compensated in
damages and which causes B&B irreparable injury and harm, Consequenily, Employee agrees
that B&B shall, at its option, be entitled to injunctive and/or other equitable relief to prevent a
breach of any of the terms of this Agreement and Employee agrees to be bound by the entry of
any such order so enjoining him/her.
ARTICLE 3
Compensation
3.1 Assuming Employee is in good standing with the firm and meeting revenue

 

expectations, B&B anticipates providing Employee a base salary from January 1, 2014 through
December 31, 2014, plus 10% of eared net revenue from new business. In addition Employee
shall be given a credit in the amount of $20,000 annually toward draw validation for providing
account service exceeding what is normally required of a Client Sales Executive. During the
period our expectation is that Employee will grow the book such that by January 1, 2015,
Employee shall be converted to the Compensation Plan as described herein in which Employee

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shall be paid a biweekly draw against his/her earned income. The amount of this draw will be
determined by Employee’s Departmental Manager. This draw is an advance against income
anticipated to be earned in the future, and is not earned income. The amount of ihe draw will
be determined by estimating the nei commissions and fees that are anticipated to be received
by B&B on accounts coded to Employee's book of business. The amount of any draw shall be
established at B&B's sole discretion, and may be modified at any time in B&B's sole discretion,
In addition, Employee shall continue receiving an annual credit in the amount of $20,000
annually towards draw validation for providing account service exceeding what is normally
required of a Client Sales Executive.

Net Revenue Defined, Net Revenue is based Upon Commissions and fees earned by
B&B. Net Revenue shall be calculated by subtracting from gross commissions and fees those
costs that are determined by B&B to be direcily attributable to a client {@.g., contributions, cost
of value added services such as COBRA and FHlexSpending Account administration, BeneTrac
fees, consulting fees such as R&LA hours in excess of allotted hours, air travel and overnight

 

accommodation, etc.}.

Eormed Income Defined. Earned income is a percentage of the Nef Revenue as defined
above that has actually been received by B&B, and which represents payment in full for al
products or services sold. No income is earned until B&B has received payment in full,

New and Renewal Commissions and Fees Defined. New commissions and fees are
defined as those received by B&B during the first 12 months of a contract, Renewal commissions
and fees are defined as those recelved by B&B for all months following the first 12 months of a
contract.

Calculation of Earned Income. Each quarter, earned income shall be calculated and
compared fo all draws paid. At that time, Employee shall be paid any earned income that has
been eared and that exceeds the draw for the current quarter and any deficit from prior
quarters,

Earned income shall be calculated based upon the following percentages of net
renewal and net new commissions and fees:

40% of net new and renewal commissions and fees < $300,000

80% of net new and renewal commissions and fees as of first dollar > $300,000 and <

$600,000

60% of nef new and renewal commissions and fees as of first dollar > $600,000

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Leaves of Absence. if Employee is on an approved leave of absence due to their own

 

medical condition for 30 calendar days or less, no adjustment will be made to Employee's draw
or Earned income. If Employee is on an approved leave of absence due to their own medical
condition more than 30 calendar days, but less than 180 calendar days, Empioyee’s draw will be
reduced to 60% of the previously established draw that was in effect at the beginning of the
leave of absence. When appropriate, Employee will receive benefits under B&B's Supplemental
Medical Leave policy, Credit for Eamed Income during such a leave of absence will be
allocated 60% to Employee and 40% to other employees and/or Principals (if any} covering
Employee's accounts based on B&B's judgment of the work performed. Employee will not
receive a draw or credit for Earned Income when taking leave time in excess of 180 calendar
days.

if Employee is on an approved leave of absence due fo any reason other than their own
medical condition, Employee's will not receive a draw or credit for Earned Income during the
period of the leave of absence,

Overpayment of Draw. Because any draw paid is only an advance of wages not yet
earned, if Employee's draw for any quarter exceeds Employee’s Earned income for the quarter,
Employee shall be responsible to repay the amount of the draw that exceeds the Eamed
income. B&B may, in its sole discretion, defer repayment until the completion of the following
quarter and the calculation of Employee's Earned Income at that end of that quarter. If
Employee’s employment with B&B ends for any reason, Employee is obligated to repay any
outstanding draw overpayments. Such repayment must be made within thirty (30) days of B&B's
written notification to Employee of the amount due.

Transferred Business. The Company reserves the right, af any time, in its sole discretion, to

 

transfer business between books of business to ensure clients are provided the appropriate level
of service needed and to meet any other business related needs.

Referred, Cross-Sold and Joint Produced Business. Referral, cross-selling and joint
production is encouraged. Accordingly, Employee will receive credit toward Eamed income if
s/he is deemed by B&B fo be instrumental in obtaining a piece of business for another
employee's book of business. Any such credit will be determined in accordance with B&B's then
current Referral Bonus Program rules. Any separate agreement between employees pertaining
to revenue splits, cross-selling or joint production must be confirmed and approved by the
Department Manager prior to placement. Under no circumstances will the combined amounts
paid to all participants of the referred, cross-sold or joint produced business exceed the amount

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that would be paid to an individual employee.

Payment of Earned Income Upon Termination. tf Employee's employment is terminated,
voluntarily or involuntarily, Employee shall be paid any Earned Income that has been earmed as
of the date of termination, less any draws paid for the current quarter and any deficit from prior
quarters.

3,2 Employee Benefits, Sick Leave and Vacation Time. Employee shall be entitled to
benefits such as medical or disability insurance, life insurance, sick leave and vacation in
accordance with B&B's then current policies and practices unless otherwise noted in whiting and
signed by Department Manager.

3.3 Business Expenses. Employee is authorized to incur reasonable business expenses
and entitled to reimbursement of such expenses for promoting the business of B&B, provided
that such expenses are approved and authorized by B&B in ‘advance, and provided that
Employee timely provides all required documentation to support the expenses were actually
and properly incurred.

ARTICLE 4
General Provisions

4] Non-Assignability. This Producer's Agreement is not assignable by Employee.

A.2 successor. The rights and obligations of B&B under this Agreement shall inure to
the benefit of and shall be binding upon the successors, assigns and transferees of B&B.

4.3 Integration. This Agreement contains the entire agreement between the parties
hereto regarding Employee's at-will ernployment and the terms of Employees’ compensation and
benefits of employment with B&B. Additionally, it supersedes ail prior negotiations, understanding,
letters, arrangements and agreements between them concerning those matters. The language of
this Agreement shall be construed simply according to its fair meaning, and shall not be strictly read
against any party.

4.4 Choice of Law. This Agreement shall be governed and construed in accordance
with the laws of the State of California.

4.5 Severability, The illegality, unenforceability or invalidity of any one or more
covenants, phrases, clauses, sentences or paragraphs of this Agreement, as determined by a
court of competent jurisdiction, shall not affect the remaining portions of this Agreement, or any
part thereof; and in case of any such illegality, unenforceability or invalidity, this Agreement shalt
be construed as if such illegal, unenforceable or invalid covenants, phrases, clauses, sentences

of paragraphs, had not been inserted.

OAK Ferguson E CE Sales Agreement 11-13 Page 6 of 7

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46 Waiver, The waiver by B&B of a breach of any provision of this Agreement shall

 

not operate or be construed as a waiver of any subsequent breach of the same or any other

provision hereof,

IN WITNESS WHEREOF, the parties hereto have duly executed this Agreement as of the
date first above written and have received a copy of this Agreement. All parties have
reviewed the Agreement carefully and have been provided with an opportunity to ask

questions and/or consult with an attorney prior to signing.

BARNEY & BARNEY, LLC

 

Verte Carter, Penernde

Name and Title (please print)

 

 

 

 

 

EMPLOYEE
E_ine 2 BB Fea ou SELF
Employee Name (please print} Employee Signature
i. if’ (“ft
Date
OAK Ferguson E CE Sales Agreement 11-13 Page 7 of 7

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917} Towne Centre Drive, Suite S00 San Diego, CA 92122 P.O. Box 85638 800.321.4496 www. bomeyondbamey.com CA Insurance UC: 0C039S0 _.,.An Assurex Globot Parner

 
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Exhibit 4 - Ferguson contract supplement
change November 2018
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For Personnel Use Onl
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Employee Name: _Elmer (Rick) Ferguson __ a Employee ID#: 1049504 ;

Today’s Date: 10/31/2018 Date Effective: 11/1/2018

 

 

 

 

 

 

Change Current Information New Information
Job Title: [7] Current: Client Executive Service New:
Supervisor: [] Current: JeffCalder = sNews
Concur Supervisor : [X] Current: Bill Peartree a New: JeffCalder .
Department Code: [_] Current; Oo New:
Pay Rate: [X] §: 110,000 $: 125,000
Overtime Rate: [_] Se $:
Doubletime Rate: [_] Be %:
Status: CI Current: Exempt LC] Non-Exempt [_| New: Exempt C] Non-Exempt {__] _
Location: (_] Current: oe Co New:
Reason: [_] _Merit [_] Transfer [_] Promotion[ ] Other DX

 

Other changes:

Compensation package includes 25% for business referrals; Bonus plan is 12%

 

 

Employee SignaturesS— 2, fpr. Date | J | } |] IK
a ~ Coad me
Supervisor Signature:: Date

 

Human Resources Signature Date
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Exhibit 5 - Littler Opinion CA Section 925
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-DEPTH DISCUSSION _

 

OCTOBER 3, 2016 New California Law Prohibits Choice of Law and

Venue in Employment Contracts

BY M. SCOTT MCDONALD AND JIM HART

On September 25, 2016, Governor Brown signed into law a new

California Labor Code provision (Section 925) that is likely to have major
repercussions for contracts with employees who live and work primarily
in California. Tne new California Labor Code provision prohibits the use of
contract provisions that apply another state’s law or require adjudication
of disputes in another state as a condition of the employment of an
individual who primarily resides and works in California.

The law applies to contracts entered into, modified, or extended on or
after January 1, 2017. This gives employers a brief window to address the
need for changes in their existing employment agreements. However,
determining what changes are needed will require an individualized
assessment because the new law raises a whole host of unanswered
questions, and employers will have more than one option regarding how to
address the concerns created by the new law.

The New Law =< Section 925

Section 925 appears relatively simple on its face. It provides as follows:

a. An employer shall not require an employee who primarily resides
and works in California, as a condition of employment, to agree toa
provision that would do either of the following:

1. Require the employee to adjudicate outside of California a claim
arising in California.

2. Deprive the employee of the substantive protection of California
law with respect to a controversy arising in California.

b. Any provision of a contract that violates subdivision (@ is voidable by
the employee, and if a provision is rendered void at the request of the
employee, the matter shall be adjudicated in California and California
law shall govern the dispute.

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c. In addition to injunctive relief and any other remedies available, a court may award an employee who is
enforcing his or her rights under this section reasonable attorney's fees.

ad. For purposes of this section, adjudication includes litigation and arbitration.

e. This section shall not apply to a contract with an employee who is in fact individually represented by
legal counsel in negotiating the terms of an agreement to designate either the venue or forum in
which a controversy arising from the employment contract may be adjudicated or the choice of law
to be applied.

f. This section shall apply to a contract entered into, modified, or extended on or after January 1, 2017!

The apparent intent of Section 925 is to largely eliminate the normal contractual right that parties

have to select the law governing their contractual obligations and the venue (or location) for any legal
proceeding adjudicating the rights of the parties under their contract. While other state and federal laws will
occasionally prohibit contractual provisions that would avoid their application, Section 925 appears unique
and unprecedented in its extremely broad and sweeping prohibition regarding the use of choice-of-law and
venue clauses for individuals who primarily reside and work in California.

Choice of law and choice of venue clauses are commonplace elements in contract law. They are already
governed in a relatively uniform fashion across the United States through common-law principles largely
articulated in the Restatement of Conflict of Laws, and in jurisdictional and procedural rules and doctrines
(like forum non conveniens and personal jurisdiction). Why the protections already built into these legal
guidelines were deemed inadequate to protect the rights of California employees, and how the special
protections created by Section 925 will be reconciled with some of these principles going forward, are only
two of many unanswered questions raised by Section 925.

Is choosing another state’s law or venue now an illegal act in California? Or is it simply the use of a
voidable provision?

Section 925 and the Legislative Counsel's Digest accompanying it paint an unclear picture on this issue.
Section 925(a) provides that an employer “shall not” require an employee who primarily resides and works in
California, as a condition of employment, to agree to a contract that has a choice of venue or law provision
that would offend the statute. This tyoe of language is usually reserved for a direct and complete prohibition
of the conduct at issue—it would appear to make asking an employee to sign such an agreement an illegal
act, Similarly, the Digest introduction to the law starts out by noting that existing law prohibits an employer
from requiring an employee or applicant for employment to agree, in writing, to any term or condition that is
known by the employer to be illegal. This is a reference to Labor Code Section 423.5, and sets the stage for
the argument that using such an agreement is an illegal act in and of itself.

On the other hand, Section 925, subdivision (bo) goes on to say that an offending provision “/s voidable

by the employee, and if a provision is rendered void at the request of the employee, the matter shall be
adjudicated in California and California law shall govern the dispute.” This suggests that the employee is

the one who controls whether the provision (choice-of-law or venue) is honored or not. The statute is very
unusual in that it does not simply declare the provision void but instead makes it voidable. Logically, this
means it is not an illegal provision from the outset - otherwise it would simply be void ~ but is instead
potentially illegal depending on what the employee elects to do and whether the employee happened to be
represented by counsel when the contract was formed. The law is clearly written so as to give the employee
the option to use (and enforce) the questionable provision if it is favorable to him or her or request that it
be voided if it is not favorable. Presumably, it is not an illegal clause or illegal act by the employer to use it

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if the employee likes it and chooses to enforce it. Under this scenario, the employer has no way to know in
advance what decision the employee will make in this regard, which is significant because the employer's
knowledge is an important factor in determining liability. Rather, the inclusion of language permitting an
employee to void the agreement appears to be in response to prior bills that were vetoed in past legislative
sessions, including AB 267 (Swanson, 2011), AB 335 (Fuentes, 2009), and AB 1043 (Swanson, 2007). In an
attempt to distinguish this law from prior unsuccessful bills, the legislative history here indicated that “[i]n
contrast to those bills, this bill would make the choice-of-law and choice of forum provisions voidable by the
employee, and not automatically void and unenforceable.”

Whether or not the use of the potentially offending provision could create a violation of Labor Code Section
432.5 referred to in the Digest is dependent on the employer's knowledge. By its express terms, Section
432.5 applies only where an employee is required to agree to a term or condition known by the employer to
be prohibited by law. Cal. Lab. Code § 432.5. Does the fact that the provision might be deemed void if the
employee so chooses make it prohibited by law from the outset, or only prohibited by law if the employee
does not like it? That it might be declared void is not the same as illegal. "Void" merely means "of no legal
effect: null,” whereas “prohibit” means "to forbid by law.”? Consequently, several important questions remain
unanswered and are ripe for litigation.

Can the employee change position at any time or elect to void provisions in a selective fashion?

The statute is not clear how the employee's right to elect whether to void the offending choice-of-law or
venue provision will work. It aopears unlikely that the employee can be compelled to choose before the
“controversy” at issue is ripe for legal action since the substantive prohibition applies only to the application
of a choice of law to a particular controversy.

However, the wording of Section 925, subdivision (b) suggests that once a controversy has arisen and the
employee elects to void the selection of another state’s law, the entire matter is controlled by California law
and adjudicated in California (the “matter shall be adjudicated in California and California law shall govern
the dispute”). This would indicate that statute contemplates one, simple election with no change in course
thereafter. It does not, however, indicate at what stage of a dispute this election can (or must) be made.

Is the selection of another state’s law always going to be problem?

Technically “no,” but practically “yes.” Section 925, subdivision (b) only prohibits the selection of another
state's law if it deprives the employee of the substantive protection of California law with respect to a
controversy arising in California.

However, this sets up a difficult and largely unpredictable stage upon which the parties can contract. Are the
parties supposed to anticipate every conceivable “controversy” that might ever come up between them and
compare the laws of the two states and somehow “know” in advance whether the result would be different
under California law or the law chosen? Realistically, that would be an impossible task. And, consequently,
the practical effect is that an employer will have little choice but to presume it cannot use another state's
law in most instances.

Is Section 925 applicable to all enployment contracts with California employees?

Not exactly. By its terms, Section 925 applies only to contracts that are required “as a condition of
employment, ...”. As a result, if an employee is given a choice and not required to sign the agreement as

a condition of employment, the prohibition in the statute would not appear to apply. This suggests, for
example, that an agreement that is not a condition of employment but instead a condition of participation

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